      Case 2:09-cv-07252-HGB-JCW Document 27 Filed 08/04/10 Page 1 of 2




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


DANIELLE DUFRENSE CASEY,            *                 CIVIL ACTION NO.: 09-7252
     PLAINTIFF                      *
                                    *                 JUDGE: HELEN G. BERRIGAN
VERSUS                              *
                                    *                 MAG. JDG.: JOSEPH C. WILKINSON
FORD MOTOR CREDIT COMPANY *
LLC and LCRS, INC.,                 *
      DEFENDANTS                    *
*************************************

                         MOTION TO DISMISS WITH PREJUDICE

       Plaintiff/defendant-in-counterclaim, Danielle Dufrense Casey (“Casey”), and

defendant/plaintiff-in-counterclaim, Ford Motor Credit Company LLC (“Ford Credit”), upon

representing to the Court that they have settled and compromised all claims and disputes by and

between themselves in this matter, move this Court for an order dismissing with prejudice all

claims and demands asserted by Casey against Ford Credit in this matter, and all claims and

demands asserted by Ford Credit against Casey in this matter, with each party to bear its own

respective costs of court and attorneys fees, and with Ford Credit and Casey reserving all of their

respective rights and claims against all other persons and entities whatsoever.

       Wherefore, Danielle Dufrense Casey and Ford Motor Credit Company LLC pray that

this Court enter an order dismissing with prejudice all claims and demands asserted by Casey

against Ford Credit in this matter, and all claims and demands asserted by Ford Credit against

Casey in this matter, with each party to bear its own respective costs of court and attorneys fees,

and with Ford Credit and Casey reserving all of their respective rights and claims against all

other persons and entities whatsoever.
      Case 2:09-cv-07252-HGB-JCW Document 27 Filed 08/04/10 Page 2 of 2




                                              Respectfully submitted,

                                              /s/ David S. Moyer__________________
                                              David S. Moyer
                                              David S. Moyer, LLC
                                              116 Lakewood Drive
                                              Luling, LA 70070
                                              Phone: (985) 308-0510
                                              Fax: (985) 308-0511
                                              Attorney for Danielle Dufrense Casey


                                CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of August 2010, a copy of the foregoing has been

filed with the United States District Court for the Eastern District of Louisiana by electronic case

filing/case management. All counsel of record are being served with this filing by either the

court’s electronic filing system or by telefaxing and/or placing a copy of same in the United

States mail, properly addressed and with adequate postage affixed thereon.



                                              /s/ David S. Moyer
